MOTION GRANTED. The Hearings are hereby rescheduled for January 22, 2021 at 1:00 p.m. via videoconference.




                                UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION


          UNITED STATES OF AMERICA                 )
                                                   )
                                                   )
                 v.                                )     No. 3:21-mj-2668
                                                   )     MAGISTRATE JUDGE FRENSLEY
                                                   )
          ERIC GAVELEK MUNCHEL                     )



                               UNOPPOSED MOTION TO CONTINUE
                            PRELIMINARY AND DETENTION HEARINGS

                 This matter currently is scheduled for preliminary and detention hearings on

          Tuesday, January 19, 2021. Without opposition from the government, Mr. Munchel

          asks the Court to postpone this matter to provide additional time for the defendant

          to prepare for the hearing.


                 In support of this motion, defense counsel would show the following:

          Although defense counsel had hoped to proceed with this matter on Tuesday,

          January 19, 2021, defense counsel is still gathering information and needs

          additional time to prepare for the detention hearing. Assistant United States

          Attorney Ben Schrader advises that he has no opposition to this request. Both

          parties have availability for a hearing on Friday, January 22, 2021, if that date is

          available to the Court.




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                                       Respectfully submitted,


                                       /s/ Caryll S. Alpert
                                       CARYLL S. ALPERT (BPR# 017021)
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                                       Nashville, TN 37203
                                       615-736-5047
                                       E-mail: Caryll_Alpert@fd.org

                                       Attorney for Eric Gavelek Munchel


                           CERTIFICATE OF SERVICE

       I hereby certify that on January 15, 2021, I electronically filed the foregoing
Motion To Continue with the clerk of the court by using the CM/ECF system, which
will send a Notice of Electronic Filing to John Benjamin Schrader, Assistant United
States Attorney, 110 Ninth Avenue South, Suite A961, Nashville, TN 37203.

                                       /s/ Caryll S. Alpert
                                       CARYLL S. ALPERT




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